Case 1:16-cr-00231-RWS Document 43

L.S. Department of Justice

Filed 12/10/24

Page 1 of 1

PROCESS RECEIPT AND RETURN

United States Marshals Service See "Instructions Jor Service of Process by US. Marshal”
PLAINTIFF COURT CASE NUMBER
United States of America 1:16-cr-00231-RWS
DEFENDANT TYPE OF PROCESS \
JAMES FRALEY Disposal

NAME OF INDIVIDUAL, COMPANY. CORPORATION FIC TOSI RVE OR DESCRIPTI

SERVE Real Property in City of Chattanooga, Hamilton County, Tennessee

ON OF PRO

ADDRESS (Street or RFD Apartment No. City, State and ZEP Conk

AT

“SEND NOTICE OF SERVICE COPY 10 REQUESTER AT NAME AND ADDRESS BELOW

Number of progess to be

Sekret T. Sneed
Assistant United States Attorney

served with thisfForm 285

Number of partis to be
served in this cis

75 Ted Turner Drive SW, STE 600 Check for service
Atlanta. GA 30303 lonUSA
SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILE ASSIST EN EXPEDITING SERVICE (laclude Business and Alternate Addresses.

4H Telephone Numbers, and Esti { Times Available for Service):

Please dispose of the real property described as South one-half of Lot 28, BLOCK 16, D.F. SHAUF'S ADDITION, fronting

48 feet, more or less, on the West line of St. Elmo Avenue, and running between parallel lines, a distance of 175 feet to the
East line of the Shauf Place and the same real estate described Deed Book 3884,Page 579, in the Register's Office of Hamilton
County, Tennessee into the Asset Forfeiture Fund and hold for restitution.

See attached Final Order of Forfeiture. 16-FBI-004 150

Signature o¥Attornes Ef", requesting service on behalf of

SPACE BELOW FOR USE OF U.S.

acknowledge receipt for the total
number of process indicated

(Sign only for USM 285 if more
than one USM 285 is sub A

| TELEPHONE NUMBER DATE

(] PLaiiiet
O) DEFENDANT

| (404)-581-6000 5/16/2024
MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE

Disteret to

Total Process | Distnet of Signature of Authonzed USMS Deputy or Clerk Date
Ongin Serve

LIS 24) bitin bate Se2/oo2y

Thereby certify and return that! [J] have personally served , [J have legal evidence of service have executed as shown in “Remarks”, the process descnbed on the
indis dual, company. corporation. ete , at the address shown above on the on the individual. compiny, corporation, ete shown at the address inserted below

(0 Thereby certify and return that | am unable to locate the individual. company. corporation. ete named above (See remarks belous

Ip

Name and ttle of mdividual sened (if not shawn above) time

0 am
CO) pm

/24

of US Marshal or Dep

Address (complete unh different than shown above)

Sagnate

LO

Costs shawn an

ll mm Knecordance meh Lgw ancl
deposited +o AFF-

REMARKS

Property. So
Proce eol$

Form ( S\E-28*
Rev 3 2t
